     Case 5:24-cv-00191    Document 11      Filed 07/26/24   Page 1 of 3 PageID #: 75




                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                           BECKLEY DIVISION

 SANDRA L. STEVENS, on behalf of
the ESTATE OF NICHOLAS VANBUREN,

              Plaintiff,
v.
                                                        Civil Action No.: 5:24-cv-191
                                                        Judge Frank W. Volk

PRIMECARE MEDICAL, INC.,
PRIMECARE MEDICAL OF WEST
VIRGINIA, INC.,
JOHN/JANE DOE PRIMECARE
EMPLOYEES,

              Defendants.


      DEFENDANT, PRIMECARE MEDICAL OF WEST VIRGINIA, INC.’S,
      MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT

        Comes Now Defendant, PrimeCare Medical of West Virginia, Inc. by counsel,

Mark R. Simonton, Anne Liles O’Hare, Elijah S. Stevens, and the law firm of Offutt

Simmons Simonton, PLLC, pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure, and respectfully requests that this Court enter an Order dismissing

Plaintiff’s claims against PrimeCare Medical of West Virginia, Inc., as set forth in her

First Amended Complaint. In support of said Motion, PrimeCare Medical of West

Virginia, Inc., states as follows:

        1.    Plaintiff’s First Amended Complaint fails to state a claim upon which

relief can be granted as to PrimeCare Medical of West Virginia, Inc., because the

claims asserted against PrimeCare Medical of West Virginia, Inc., were pled outside

of the applicable statute of limitations.
  Case 5:24-cv-00191     Document 11     Filed 07/26/24   Page 2 of 3 PageID #: 76




      WHEREFORE, for the foregoing reasons, Defendant, PrimeCare Medical of

West Virginia, Inc., requests that this Honorable Court enter an Order dismissing

the claims included in Plaintiff’s First Amended Complaint against it, as more fully

set forth in the memorandum of law submitted contemporaneously herewith, as well

as any and all other relief that this Court deems just and proper.



                                       PRIMECARE MEDICAL               OF    WEST
                                       VIRGINIA, INC.

                                       By Counsel,

/s/ Mark R. Simonton, Esquire____________
Mark R. Simonton, Esquire (WV Bar #13049)
Anne Liles O’Hare, Esquire (WV Bar #9171)
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     Case 5:24-cv-00191    Document 11   Filed 07/26/24     Page 3 of 3 PageID #: 77




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 SANDRA L. STEVENS, on behalf of
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                                                      Civil Action No.: 5:24-cv-191
                                                      Judge Frank W. Volk

PRIMECARE MEDICAL, INC.,
PRIMECARE MEDICAL OF WEST
VIRGINIA, INC.,
JOHN/JANE DOE PRIMECARE
EMPLOYEES,

              Defendants.

                           CERTIFICATE OF SERVICE

        I, Mark R. Simonton, counsel for Defendant, PrimeCare Medical of West
Virginia, Inc., do hereby certify that, on the 26th day of July, 2024, I served a true
and correct copy of the foregoing “Defendant, PrimeCare Medical of West
Virginia, Inc.’s, Motion to Dismiss Plaintiff’s First Amended Complaint” with
the Clerk of the Court using the CM/ECF system which shall send notice of the same
to the following:
                               Stephen P. New, Esquire
                            Emilee B. Wooldridge, Esquire
                             Stephen New & Associates
                                430 Harper Park Drive
                                  Beckley, WV 25801


                                 /s/ Mark R. Simonton, Esquire______________
                                 Mark R. Simonton, Esquire (WV Bar #13049)




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